            Case 1:16-cv-10386-LTS Document 242 Filed 10/04/19 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
ALEXANDER STYLLER, INTEGRATED              )
COMMUNICATIONS & TECHNOLOGIES,             )
INC., JADE CHENG, JASON YUYI, CATHY        )
YU, CAROLINE MARAFAO CHENG,                )
PUSHUN CHENG, CHANGZHEN NI,                )
JUNFANG YU, MEIXIANG CHENG,                )
FANGSHOU YU, and CHANGHUA NI,             )
                                          )
                        Plaintiffs,       ) Civil Action No. 1:16-CV-10386 (LTS)
            v.                            )
                                          )
                                          )
HEWLETT-PACKARD FINANCIAL                 )
SERVICES COMPANY, HEWLETT-PACKARD )
FINANCIAL SERVICES (INDIA) PRIVATE        )
LIMITED, HP INC., HEWLETT PACKARD         )
ENTERPRISE COMPANY, and DAVID GILL,       )
                                          )
                        Defendants.       )
__________________________________________)



                     PLAINTIFFS’ MOTION FOR LEAVE TO FILE A
                    MEMORANDUM IN EXCESS OF TWENTY PAGES

       Plaintiffs, through their undersigned counsel, respectfully move this Court pursuant to

Local Rule 7.1(b)(4) for leave to file a memorandum in excess of twenty pages in support of

their motion to compel. As grounds for this motion, Plaintiffs respectfully submit that the

following circumstances justify the expansion of the memorandum’s length:

       1.       Plaintiffs intend to file their Renewed Motion to Compel and Supporting

Memorandum of Law pursuant to the Court’s Order entered on September 16, 2019, Dkt. 234.

       2.       Pursuant to Local Rule 37.1(b), Plaintiffs’ motion incorporates each

interrogatory and request for production raising an issue to be decided by the Court, with

Defendants’ responses thereto and the statements of Plaintiffs’ position on each contested issue.
            Case 1:16-cv-10386-LTS Document 242 Filed 10/04/19 Page 2 of 3



       3.       Furthermore, Plaintiffs’ motion raises additional issues and arguments concerning

the selection of Defendants’ custodians and privilege designations.

       4.       The challenge of meaningfully accommodating the above within a memorandum

of twenty pages has proven to be a great one. Accordingly, Plaintiffs respectfully move the Court

for leave to file their accompanying Renewed Motion to Compel and Supporting Memorandum

of Law of twenty-eight pages.

Dated: October 4, 2019                               Respectfully Submitted,




                                                     Dimitry Joffe
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                                                     Counsel to Plaintiffs
        Case 1:16-cv-10386-LTS Document 242 Filed 10/04/19 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, Dimitry Joffe, hereby certify that on this 4th day of October 2019, I caused a copy of

Plaintiffs’ Motion for Leave to File a Memorandum in Excess of Twenty Pages with exhibits

thereto to be served by ECF upon Defendants’ counsel of record.




                                                        ________________________
                                                        Dimitry Joffe
                                                        JOFFE LAW P.C.
                                                        Counsel to Plaintiffs
